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                                                                                            CLERKUS DISTFICT COLIN                         ;
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              5                                                                               ZISTRICTOFCEVIM                              i
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              6                                      UBqTED STATES DlsTlacT            '                                           .       i
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               7                                              DISTR ICT O F N EVAD A                                                       j
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               8 UNITED STATESOFAMERICA,                                  )                                                                    j
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               9                          Plaintiff,                      )                                                                    !
                                                                          )                                                                    ;
              10         v    .                                           )        3:l1-cR-020-I.
                                                                                                IDM (RAM I                                     !
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                                                                          )                                                                    (
              1l MICC LLEANN MORRISand                                    )                                                                    )
                 EAIN WILLIAM VARGA,                                      )                                                                    l
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              12                                                          )
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                                          oefendants.                                                                                          l
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              14                                           FINAL ORDER OFFORFEITURE                                                            j
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              l5         On June 14,2011,the United States D istrictCourtforthe District of N evada entered a                                  F
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              16 PreliminaryOrderofForfeiturepursuantto Fed.R.Cri
                                                                m.P.32.2(b)(1)and (2);Title18,United                                           i
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              17 StatesCode,Section492andTitle28,UnitedStales.code,Section2461(c),baseduponthepleas                                            I
                                                                                                                                               i
              18 ofguilty,respectively,by defendantsM ICH ELLE AN N M ORRIS and EM N W ILLIAM VA RG A                                          !
                                                                                                                                               i-
              19 tothecriminaloffense,forfeitingspecifcpropertyallegedintheIndic% entandagreedtointhePlea                                      t
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              20 M em orandum and shown by the United Stasesto have a requisite nexusto tbe offenses to wllich                                 I
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              21 defendantshllcll'
                                 ElaLEAhm M oltltlsM IIEAIN W ILLIAM VARGA pledguilty.Docket#l,#40,
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              22 #44.                                                                                                                          f'
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              23         This Courttinds the United StatesofAmerica published the notice ofthe forfeiture in
                                                     '
                                                                                                                                               j
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              24 accordancewit.
                              h tlx law viatheofficialgovenunentinterrietforfeiture site,www.forfeiture.gov,                                   I
                          '                                                                                                                    )
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              25 conseoutively from Jtme 20,2011through July 19,2011,furthernotifying al1know n third parties                                  l
              26 oftheirrightto petition the Court.//45.                                                     .                                 l
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        1            ThisCourtfmdsno petition wasfiled herein by oron behalfofany person orentity andthe           .
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        2 tim e forfiling such petitionsand claim shasexpired.
        3            ThisCourtfmdsnopetitionsarepending withregard to theassetsnam ed herein andthetim e                    :   .
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        4 forpm senting such petitionshasexpired.                 .
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        5            THEREFORE,IT IS H EREBY ORDERED,A DJUDGED ,AN D D ECREED thatal1right,                                 (
        6 title: and interestin the property hereino er described is condenm ed' forfeited,and vested in the
                                  .                                            .
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        7 United StatesofAmericapursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
        2 32.2(c)(2);Title 18,United StatesCode,Section492 andTitle28,United StatesCode,Section                             i
        9 2461(c);andTitle21, UnitedStatesCode,Section853(n)(7)andshallbedisposedofaccordingto                              I
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    10 law :

    11                     1.     OneHewlettPackardLaptopComputer,ModelDV6-2150US,serialnumber                              i
    12                            CNF01923XS                                                                                !
                                                   ;                                                                        ;

    13                     2.     OnePhotosm aM printer,M odelSD G0A-0377,serialnum berM Y42M 13I-IZ,
    14                     3.     One Brother all-in-one m ultifunction printer,M odelM FC-665CW ,serial                    .
    15                            num ber1761581L6F622095)and

    16                     4.     Peripheralequipment(tspropert/').                                                         (
    17               IT IS FURTHER ORDERED , ADJUD GED ,AN D DECREED thatany and a11forfeited                               l
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    18 ftmds,including butntjtlim ited to,ctmrncy,currency equivalents,certificatesofdeposit mswell                         I
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    19 msanyincome derived asaresultoftheUnited StatesofAmerica'smanagem entofanyproperty                                   1
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    20 f                                                                                                                    I
            orfeitedherein,andtheproceedsfrom thesaleofanyforfeited propertyshallbedisposed of                              j
    2l according to law.                                                                                                    (
    22               TheClertisherebydizectedtosend'
                                                   copiesoftllisOrdertoal1cotmselofrecordandthree                           L.
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    23 certitied copiesto theUnited StatesAttorney'sOffice.                                                                 i
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    24               DATEDthis @ '-dayor                              ,2011             ,                                   ë
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